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                                    EXHIBIT A

                                        Fees




31099508.1
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             YOUNG CONAWAY STARGATT & TAYLOR, LLP
                                                        RODNEY SQUARE
                                                    1000 NORTH KING STREET
                                                  WILMINGTON, DELAWARE 19801

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(302) 571-6646                                                                                           mlunn@ycst.com




Official Committee of Unsecured Creditors                              Invoice Date:            December 14, 2023
200 Park Avenue                                                        Invoice Number:                 50047711
New York, NY 10166                                                     Matter Number:                102750.1001



Re: FTX
    Billing Period through November 30, 2023



CURRENT INVOICE


                       Professional Services                                     $        69,503.00
                       Disbursements                                             $           292.35

                       Total Due This Invoice                                    $        69,795.35
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Time Detail

Date          Initials        Description                                Task      Hours       Amount
11/03/23      DLASK           Review and evaluate incoming pleadings B001           0.20         73.00
                              and correspondence for distribution to co-
                              counsel
11/06/23      DLASK           Review and evaluate incoming pleadings B001            0.20        73.00
                              and correspondence for distribution to co-
                              counsel
11/07/23      RFPOP           Review and comment on draft proposed       B001        0.50       445.00
                              stipulation with FDIC supplementing
                              confidentiality and protective order and
                              on draft proposed order approving same,
                              and emails to and from Paul Hastings
                              (Leonie Koch) and review confidentiality
                              and protective order re: same
11/10/23      DLASK           Review and evaluate incoming pleadings B001            0.20        73.00
                              and correspondence for distribution to co-
                              counsel
11/10/23      RFPOP           Review and analyze Center for Applied      B001        0.20       178.00
                              Rationality objection to debtors 2004
                              motion
11/13/23      DLASK           Review and evaluate incoming pleadings B001            0.20        73.00
                              and correspondence for distribution to co-
                              counsel
11/13/23      RFPOP           Review critical dates memo                 B001        0.10        89.00

11/14/23      DLASK           Review and evaluate incoming pleadings B001            0.20        73.00
                              and correspondence for distribution to co-
                              counsel
11/15/23      DLASK           Update critical dates memo                 B001        0.40       146.00

11/15/23      DLASK           Review and evaluate incoming pleadings B001            0.30       109.50
                              and correspondence for distribution to co-
                              counsel
11/15/23      RFPOP           Review and analyze debtors certification   B001        0.10        89.00
                              of counsel for proposed order approving
                              supplemental protective order with FDIC
11/17/23      DLASK           Review and evaluate incoming pleadings B001            0.10        36.50
                              and correspondence for distribution to co-
                              counsel
11/19/23      RFPOP           Review and analyze Lotscher motion to      B001        0.50       445.00
                              dismiss FTX Europe AG chapter 11 case
11/21/23      DLASK           Review and evaluate incoming pleadings B001            0.10        36.50
                              and correspondence for distribution to co-
                              counsel

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Date          Initials        Description                                Task        Hours       Amount
11/27/23      DLASK           Review and evaluate incoming pleadings B001             0.20         73.00
                              and correspondence for distribution to co-
                              counsel
11/27/23      RFPOP           Review and analyze Emergent motion to        B001        0.20       178.00
                              authorize the Antiguan court’s
                              supervision of Emergent professionals
11/28/23      DLASK           Review and evaluate incoming pleadings B001              0.10        36.50
                              and correspondence for distribution to co-
                              counsel
11/29/23      DLASK           Review and evaluate incoming pleadings B001              0.10        36.50
                              and correspondence for distribution to co-
                              counsel
11/30/23      DLASK           Update adversary electronic dockets          B001        0.40       146.00

11/30/23      DLASK           Review and evaluate incoming pleadings B001              0.20        73.00
                              and correspondence for distribution to co-
                              counsel
11/30/23      RFPOP           Review and analyze ad hoc customer           B001        0.10        89.00
                              group supplemental 2019 statement
11/08/23      MLUNN           Attend (virtually) 3d circuit argument re:   B002        0.70       717.50
                              examiner order appeal
11/13/23      MLUNN           Review November 15th hearing agenda          B002        0.10       102.50

11/13/23      RFPOP           Review and analyze agenda for                B002        0.20       178.00
                              November 15th hearing
11/14/23      DLASK           Assemble hearing materials, prepare          B002        1.00       365.00
                              binders for hearing
11/14/23      RFPOP           Review and analyze adversary proceeding B002             3.80      3,382.00
                              matters scheduled to be heard at
                              November 15th hearing in preparation for
                              same
11/15/23      MLUNN           Review amended agenda re: 11/15              B002        0.10       102.50
                              hearing
11/15/23      RFPOP           Prepare for, including review and analyze B002           6.80      6,052.00
                              pleadings related to debtors motion to
                              approve reimbursement agreements for
                              fees and expenses of professionals for ad
                              hoc customer group, review amended
                              hearing agenda, and meet and strategize
                              with Paul Hastings (Ken Pasquale and
                              Leonie Koch) (1.8), and attend (5.0)
                              omnibus hearing
11/27/23      DLASK           Assemble pleadings, prepare hearing          B002        0.40       146.00
                              binders
11/27/23      MLUNN           Review agenda re: November 29th              B002        0.10       102.50
                              hearing


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Date          Initials        Description                               Task        Hours       Amount
11/27/23      MLUNN           Correspondence with R. Poppiti and K.     B002         0.10        102.50
                              Pasquale re: November 29th hearing
11/27/23      RFPOP           Review and analyze agenda for             B002          0.10        89.00
                              November 29th hearing
11/28/23      MLUNN           Correspondence with E. Gilad and          B002          0.10       102.50
                              correspondence with R. Poppiti re:
                              November 29th hearing
11/29/23      RFPOP           Prepare for, including review and analyze B002          3.60      3,204.00
                              debtors motion to sell trust assets and
                              objections and replies filed in connection
                              therewith (2.3), and attend (1.3) omnibus
                              hearing
11/30/23      RFPOP           Review and analyze debtors interim        B004          0.20       178.00
                              financial update
11/03/23      RFPOP           Email from PWP (Emil Tu) re: venture      B006          0.10        89.00
                              portfolio
11/06/23      MLUNN           Review draft reservation of rights re:    B006          0.20       205.00
                              motion to reimburse ad hoc committee
                              fees
11/06/23      MLUNN           Review Trust Asset sale motion            B006          0.20       205.00

11/06/23      RFPOP           Review and analyze debtors trust asset      B006        0.80       712.00
                              sale motion
11/06/23      RFPOP           Review and comment on draft committee B006              0.40       356.00
                              reservation of rights for debtors motion to
                              reimburse professional fees of ad hoc
                              customer group, and emails to and from
                              Paul Hastings (Ken Pasquale and Leonie
                              Koch) re: same
11/06/23      RFPOP           Review and analyze amended and restated B006            0.20       178.00
                              Galaxy investment services agreement
11/06/23      RFPOP           Email from counsel for debtors (Brad       B006         0.30       267.00
                              Harsch) proposed re: small and large de
                              minimis claim settlements and related
                              9019 settlement and review stipulation for
                              9019 settlement re: same
11/07/23      MLUNN           Review summary analysis of proposed       B006          0.10       102.50
                              asset sales
11/07/23      MLUNN           Review revised reservation of rights to   B006          0.10       102.50
                              motion to reimburse ad hoc fees
11/07/23      RFPOP           Emails to and from Paul Hastings (Ken     B006          0.60       534.00
                              Pasquale) and UST re: debtors motion to
                              approve professional fee reimbursement
                              agreement with ad hoc customer group
                              (.4), and review motion and draft
                              committee statement and reservation of
                              rights (.2) re: same

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Date          Initials        Description                               Task         Hours       Amount
11/07/23      RFPOP           Email from Jefferies (Danny Homrich) re: B006           0.20        178.00
                              debtors venture portfolio, and review and
                              analyze materials from Jefferies re: same
11/08/23      DLASK           Finalize for filing and coordinate service   B006        0.40       146.00
                              of reservation of rights to amended
                              motion to enter into reimbursement
                              agreements
11/08/23      JKOCH           Review trust assets sale procedure motion B006           0.60       336.00

11/08/23      MLUNN           Review final version of the reservation of   B006        0.10       102.50
                              rights re: ad hoc committee fee motion
11/08/23      RFPOP           Review and analyze debtors notice of de      B006        0.10        89.00
                              minimis settlements
11/08/23      RFPOP           Review and finalize for filing committee     B006        0.40       356.00
                              reservation of rights and statement re:
                              debtors amended motion to approve
                              reimbursement agreements for ad hoc
                              customer group professional fees, and
                              emails to and from Paul Hastings (Leonie
                              Koch) re: same
11/09/23      MLUNN           Review declaration of J. Ray in support of B006          0.20       205.00
                              ad hoc fee reimbursement motion
11/09/23      RFPOP           Email from Paul Hastings (Ken Pasquale) B006             0.20       178.00
                              re: debtors proposed de minimis
                              settlements
11/09/23      RFPOP           Email from PWP (Emil Tu) ) re: de            B006        0.10        89.00
                              minimis asset sale offers for venture
                              portfolio and review and analyze
                              summary from PWP re: same
11/09/23      RFPOP           Review and analyze debtors declaration in B006           0.50       445.00
                              support of debtors motion to reimburse
                              professional fees of ad hoc customer
                              group and creditors objection to motion
11/09/23      RFPOP           Email from Jefferies (Danny Homrich) re: B006            0.50       445.00
                              FTX 2.0, and review and analyze
                              materials from Jefferies re: same
11/10/23      MLUNN           Review UST objection to ad hoc fee       B006            0.20       205.00
                              reimbursement motion
11/10/23      MLUNN           Review summary of asset sale             B006            0.10       102.50

11/10/23      RFPOP           Review and analyze debtors notice of de      B006        0.10        89.00
                              minimis asset sales
11/10/23      RFPOP           Review and analyze UST objection to        B006          0.70       623.00
                              debtors motion to approve reimbursement
                              agreements for professional fees of ad hoc
                              customer group


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Date          Initials        Description                               Task          Hours       Amount
11/13/23      RFPOP           Review and analyze debtors and ad hoc     B006           0.90        801.00
                              customer group replies to objections to
                              debtors motion to approve reimbursement
                              agreements for professional fees and
                              expenses of ad hoc customer group, and
                              consider related issues (.7); emails from
                              counsel for debtors (Alexa Kranzley) and
                              UST re: evidentiary issues re: motion and
                              hearing on same and consider related
                              issues (.2)
11/14/23      RFPOP           Review and analyze debtors motion to          B006        0.50       445.00
                              approve Effective Ventures Foundation
                              settlement and debtors notice of
                              settlement of small estate claims (.4), and
                              email from Paul Hastings (Ken Pasquale)
                              (.1) re: same
11/15/23      RFPOP           Emails to (.2) and from (.2) Paul Hastings B006           0.70       623.00
                              (Ken Pasquale) and counsel for ad hoc
                              customer group (Matt Harvey) and call
                              with Matt Harvey (.3) re: debtors motion
                              to approve reimbursement agreements for
                              fees and expenses of professionals for ad
                              hoc customer group
11/15/23      RFPOP           Email from counsel for debtors (Brad          B006        0.10        89.00
                              Harsch) re: proposed small estate claims
                              settlements, and review and analyze
                              summary of same
11/17/23      MLUNN           Review BlockFi sale objection                 B006        0.20       205.00

11/19/23      RFPOP           Review and analyze BlockFi objection to       B006        0.20       178.00
                              debtors motion to sell trust assets
11/19/23      RFPOP           Email from counsel for debtors (Daniel        B006        0.10        89.00
                              O’Hara) re: proposed small estate claim
                              settlement, and review and analyze
                              proposed settlement re: same
11/21/23      RFPOP           Review and analyze Mallon objection to        B006        0.30       267.00
                              debtors motion to sell trust assets
11/22/23      RFPOP           Email from Jefferies (Tim Shea) re: FTX B006              0.10        89.00
                              2.0, and review materials from debtors re:
                              same
11/27/23      MLUNN           Review reply and declaration in support       B006        0.20       205.00
                              of sale motion
11/27/23      RFPOP           Review and analyze debtors reply to           B006        0.30       267.00
                              objections to debtors motion to sell trust
                              assets and related supporting declaration
11/27/23      RFPOP           Emails to and from Paul Hastings (Ken         B006        0.20       178.00
                              Pasquale) re: debtors motion to sell trust
                              assets

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Date          Initials        Description                                Task        Hours       Amount
11/27/23      RFPOP           Email from Paul Hastings (Jack             B006         0.10         89.00
                              Iaffaldano) re: coin estimation issues
11/28/23      MLUNN           Review letter to ad hoc re: FTX 2.0 issues B006          0.10       102.50

11/28/23      RFPOP           Review and comment on draft letter to   B006             0.10        89.00
                              FTX 2.0 customers ad hoc committee, and
                              email from Paul Hastings (Ken Pasquale)
                              re: same
11/28/23      RFPOP           Review debtors certification of counsel    B006          0.10        89.00
                              for debtors motion to approve amended
                              investment services agreement
11/28/23      RFPOP           Emails to and from Paul Hastings (Ken      B006          0.30       267.00
                              Pasquale and Erez Gilad) re: debtors
                              motion to sell trust assets and related
                              objections
11/30/23      RFPOP           Review and analyze debtors notice of       B006          0.10        89.00
                              small estate claim settlement, and email
                              from counsel for debtors (Bradley
                              Harsch) re: same and additional small
                              claims settlements
11/30/23      RFPOP           Review and analyze debtors summary of      B006          0.10        89.00
                              de minimis asset sale offers for venture
                              portfolio, and email from PWP (Emil Tu)
                              re: same
11/06/23      MLUNN           Review proposed claim settlement         B007            0.30       307.50
                              summaries and draft settlement agreement
11/09/23      MLUNN           Review proposed claim settlement and       B007          0.10       102.50
                              analysis of same
11/09/23      MLUNN           Review objection to ad hoc fee motion      B007          0.10       102.50
                              filed by P. Rabitte
11/13/23      RFPOP           Review and analyze Rheingans-Yoo           B007          0.50       445.00
                              response to debtors claim objection
11/14/23      MLUNN           Review 1st, 2nd, 3rd, 4th and 5th omnibus B007           0.40       410.00
                              objections to claims
11/14/23      RFPOP           Review and analyze debtors first-fifth     B007          1.10       979.00
                              omnibus claims objections
11/15/23      MLUNN           Review proposed claim resolutions          B007          0.10       102.50

11/19/23      RFPOP           Review and analyze creditors motion to     B007          0.10        89.00
                              file late claim
11/30/23      MLUNN           Review motion to approve estimation        B007          0.40       410.00
                              procedures re: IRS claims




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Date          Initials        Description                                 Task      Hours       Amount
11/30/23      RFPOP           Review and analyze debtors motion for       B007       0.70        623.00
                              estimation of IRS claims and related
                              supporting declaration (.6), and emails
                              from Paul Hastings (Ken Pasquale and
                              Lanie Miliotes) and committee (.1) re:
                              same
11/01/23      MLUNN           Review materials in preparation for UCC     B008        1.30      1,332.50
                              strategy and update call (.3); call with
                              UCC members, PH, FTI, and Jefferies re:
                              various case updates and related strategy
                              (1.0)
11/01/23      RFPOP           Call with M. Lunn, Paul Hastings, FTI       B008        1.30      1,157.00
                              and Jefferies teams, and committee re:
                              case update and strategy and upcoming
                              deadlines and tasks (1.0), and review
                              materials from Paul Hastings, FTI and
                              Jefferies and emails from Paul Hastings
                              (Jack Iaffaldano) and Jefferies (Danny
                              Homrich) in preparation for same (.3)
11/08/23      MLUNN           Review materials in preparation for   B008              1.50      1,537.50
                              meeting with UCC members and advisors
                              (.3); meeting with UCC members and
                              advisors (1.2)
11/08/23      RFPOP           Call with M. Lunn, Paul Hastings, FTI      B008         1.50      1,335.00
                              and Jefferies teams, and committee re:
                              case update and strategy and upcoming
                              deadlines and tasks (1.2), and review
                              materials from Paul Hastings and Jefferies
                              and emails from Paul Hastings (Leonie
                              Koch) and Jefferies (Sebastian Carri) in
                              preparation for same (.3)
11/16/23      MLUNN           Review materials in preparation for call   B008         2.60      2,665.00
                              with UCC members (.4); and call with
                              UCC members and advisors re: various
                              case updates, issues and related strategy
                              (2.2)
11/16/23      RFPOP           Call with M. Lunn, Paul Hastings, FTI       B008        3.10      2,759.00
                              and Jefferies teams, and committee re:
                              case update and strategy and upcoming
                              deadlines and tasks (2.2), and review
                              materials from Paul Hastings, FTI and
                              Jefferies and emails from Paul Hastings
                              (Jack Iaffaldano) in preparation for same
                              (.9)
11/22/23      MLUNN           Review materials in preparation for UCC     B008        1.70      1,742.50
                              update and strategy call (.3); call with
                              UCC members and advisors, including
                              PH, FTI and Jefferies (1.4)


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Date          Initials        Description                                Task       Hours       Amount
11/22/23      RFPOP           Call with M. Lunn, Paul Hastings, FTI      B008        1.70       1,513.00
                              and Jefferies teams and committee re:
                              case update and strategy and upcoming
                              deadlines and tasks (1.4), and review
                              materials from Paul Hastings, FTI and
                              Jefferies and emails from Paul Hastings
                              (Leonie Koch) and Jefferies (Sebastian
                              Carri) in preparation for same (.3)
11/27/23      RFPOP           Call with Paul Hastings, FTI and Jefferies B008        0.60        534.00
                              teams, committee and FTX 2.0 customers
                              ad hoc committee plan, FTX 2.0 and
                              related issues
11/01/23      RFPOP           Review and analyze Gruhn motion to         B011        1.60       1,424.00
                              dismiss Gruhn/Williams adversary
                              proceeding and Williams motion to
                              dismiss certain counts of Gruhn/Williams
                              adversary proceeding
11/06/23      MLUNN           Review Olympus Peak adversary              B011        0.30        307.50
                              complaint
11/06/23      RFPOP           Review and analyze Olympus Peak            B011        0.20        178.00
                              adversary complaint
11/07/23      DLASK           Research referenced transcripts for 3rd    B011        1.00        365.00
                              circuit appeal oral argument
11/07/23      RFPOP           Review and analyze Williams                B011        0.50        445.00
                              supplemental motion to dismiss Williams
                              adversary proceeding
11/07/23      RFPOP           Review and analyze case management         B011        0.10         89.00
                              and scheduling order for Burgess
                              adversary proceeding
11/09/23      RFPOP           Review and analyze Williams motion for     B011        0.40        356.00
                              protective order
11/10/23      MLUNN           Review objection of Applied Rationality    B011        0.10        102.50
                              to 2004 motion
11/10/23      RFPOP           Review and analyze stipulation and         B011        0.10         89.00
                              abeyance of deadlines in JPL adversary
                              proceeding
11/10/23      RFPOP           Review and analyze adversary complaint     B011        0.50        445.00
                              against Mirana and Bybit
11/13/23      RFPOP           Review and analyze debtors objection to    B011        1.20       1,068.00
                              K5 motion to dismiss adversary
                              proceeding and supporting declarations
                              for same
11/15/23      MLUNN           Review adversary complaint against         B011        0.70        717.50
                              ByBit




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Date          Initials        Description                                Task        Hours       Amount
11/19/23      RFPOP           Email from Paul Hastings (Jack             B011         0.10         89.00
                              Iaffaldano) and counsel for defendant
                              (Darrell Daley) re: committee request to
                              intervene in Lorem Ipsum adversary
                              proceeding
11/21/23      RFPOP           Review and analyze motion to dismiss in    B011         0.70        623.00
                              Burgess adversary proceeding (.6), and
                              email from Paul Hastings (Jack
                              Iaffaldano) re: committee request to
                              intervene in same (.1)
11/28/23      RFPOP           Review and analyze Friedberg answer,     B011           1.20       1,068.00
                              counterclaims and motion to dismiss in
                              Friedberg adversary proceeding
11/28/23      RFPOP           Call from counsel for debtors (Matt      B011           0.20        178.00
                              Pierce) and emails to and from Paul
                              Hastings (Ken Pasquale and Jack
                              Iaffaldano), Matt Pierce and UST re: UST
                              third circuit examiner motion appeal
11/28/23      RFPOP           Emails to and from Paul Hastings (Ken     B011          0.90        801.00
                              Pasquale and Jack Iaffaldano) and counsel
                              for defendants (Heath Rosenblat, Tara
                              Pakrouh and Lawrence Gebhardt) re:
                              committee intervention in Lorem Ipsum
                              and Burgess adversary proceedings and
                              case management order for Lorem Ipsum
                              adversary proceeding (.4), and review and
                              comment on draft proposed order granting
                              intervention for Lorem Ipsum adversary
                              proceeding and review comments from
                              counsel for Lorem Ipsum defendants (.2)
                              and draft certification of counsel for
                              proposed order (.3) re: same
11/29/23      MLUNN           Review revisions to intervention order     B011         0.40        410.00
                              and related correspondence
11/29/23      RFPOP           Review and comment on draft proposed      B011          0.70        623.00
                              confidentiality and protective order for
                              Lorem Ipsum adversary proceeding (.4)
                              and review and analyze additional
                              comments from counsel for defendants to
                              drafted proposed order permitting
                              committee to intervene in adversary
                              proceeding (.1), and emails to and from
                              Paul Hastings (Ken Pasquale), counsel for
                              debtors (Stephen Ehrenberg) and counsel
                              for defendants (Heath Rosenblat and
                              Lawrence Gebhardt) (.2) re: same
11/30/23      DLASK           File certification of counsel regarding    B011         0.40        146.00
                              intervention in Lorem Ipsum adversary,
                              prepare electronic order

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Date          Initials        Description                                Task         Hours       Amount
11/30/23      RFPOP           Review and finalize for filing proposed    B011          0.60        534.00
                              order permitting committee to intervene
                              in Lorem Ipsum adversary proceeding and
                              related certification of counsel (.4), and
                              emails to and from D. Laskin and Paul
                              Hastings (Jack Iaffaldano) re: same and
                              amendment to related case management
                              order (.2)
11/02/23      MLUNN           Analyze Plan open issues and tracker         B012        0.30        307.50

11/03/23      RFPOP           Emails from counsel for ad hoc customer B012             0.30        267.00
                              group (Erin Broderick) and Paul Hastings
                              (Ken Pasquale) re: disclosure statement
                              and plan and related deadlines and tasks,
                              and review and analyze materials from
                              counsel for ad hoc customer group re:
                              same
11/30/23      JKOCH           Review plan support agreement and term       B012        2.70       1,512.00
                              sheet
11/07/23      MLUNN           Review fee examiner report (.4) and call     B017        0.60        615.00
                              with R. Poppiti re: responding to same
                              (.2)
11/07/23      RFPOP           Call with M. Lunn (.2) and draft response B017           0.80        712.00
                              to fee examiner (.3) re: fee examiner
                              initial letter report for YCST third interim
                              fee application, and review letter report
                              (.3) re: same
11/08/23      DLASK           Draft 4th interim fee applications of        B017        0.30        109.50
                              committee's professionals
11/16/23      RFPOP           Emails to and from M. Lunn and fee           B017        0.20        178.00
                              examiner re: YCST third interim fee
                              application
11/19/23      RFPOP           Email to fee examiner re: YCST third         B017        0.10         89.00
                              interim fee application
11/19/23      RFPOP           Email to and from J. Kochenash re:           B017        0.10         89.00
                              certificates of no objection for committee
                              professionals August 2023 monthly fee
                              applications
11/20/23      DLASK           Prepare certificates of no objection for fee B017        0.60        219.00
                              applications of Young Conaway, Paul
                              Hastings and FTI
11/21/23      DLASK           Finalize for filing, file certificates of no B017        0.70        255.50
                              objection for fee applications of Paul
                              Hastings, Young Conaway and FTI
11/21/23      JKOCH           Review CNOs for YCST, Paul Hastings,         B017        0.30        168.00
                              and FTI's August fee applications



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Date          Initials        Description                                  Task       Hours       Amount
11/21/23      MLUNN           Correspondence with R. Poppiti and fee       B017        0.50        512.50
                              examiner (.1); and call with R. Poppiti
                              (.4) re: YCST interim fee application and
                              fee examiner report
11/21/23      RFPOP           Emails to and from fee examiner (.3) and     B017        1.10        979.00
                              call with M. Lunn (.4) re: proposed
                              resolution of fee examiner informal
                              response to YCST third interim fee
                              application, and review and analyze fee
                              examiner summary report (.4) re: same
11/27/23      DLASK           Finalize for filing and coordinate service   B017        0.30        109.50
                              of FTI's September fee application
11/27/23      DLASK           Finalize for filing and coordinate service   B017        0.40        146.00
                              of Paul Hastings September fee
                              application
11/27/23      DLASK           Finalize for filing and coordinate service   B017        0.30        109.50
                              of Young Conaway's September fee
                              application
11/27/23      JKOCH           Review and comment on Paul Hastings          B017        0.90        504.00
                              and FTI fee applications
11/27/23      MLUNN           Correspondence with G. Sasson re:            B017        0.10        102.50
                              extension of deadline to object to fee
                              applications
11/27/23      RFPOP           Call from counsel for FTI (Jen Sharrett)   B017          0.40        356.00
                              re: FTI supplemental disclosures (.2), and
                              consider related issues (.2) re: same
11/27/23      RFPOP           Call to fee examiner re: propose             B017        0.10         89.00
                              resolution of fee examiner informal
                              response to YCST third interim fee
                              application
11/29/23      JKOCH           Prepare COC for committee members'           B017        0.20        112.00
                              expense reimbursement (.1); email
                              correspondence (multiple) with L. Koch
                              re: same (.1)
11/29/23      RFPOP           Email to and from fee examiner re:           B017        0.10         89.00
                              proposed resolution of informal response
                              to YCST third interim fee application
11/30/23      DLASK           File certification of counsel regarding      B017        0.30        109.50
                              committee members' expenses
11/30/23      JKOCH           Further edits to COC for committee           B017        0.50        280.00
                              members' expense reimbursement (.4);
                              email correspondence (multiple) with L.
                              Koch and R. Poppiti re: same (.1)
11/30/23      MLUNN           Review fee examiner fee application          B017        0.10        102.50

11/30/23      RFPOP           Email to and from counsel for FTI (Jenn      B017        0.10         89.00
                              Sharrett) re: supplemental FTI disclosure

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Date          Initials        Description                                 Task          Hours         Amount
11/30/23      RFPOP           Emails to and from J. Kochenash and Paul B017              0.20          178.00
                              Hastings (Leonie Koch) re: committee
                              first application for reimbursement of
                              expenses, and revise draft certification of
                              counsel re: same
11/07/23      RFPOP           Review invoice for YCST September             B018         0.70          623.00
                              2023 fee application re: confidentiality
                              and local rule compliance
11/08/23      RFPOP           Review invoice for YCST October 2023          B018         0.60          534.00
                              fee application re: confidentiality and
                              local rule compliance
11/10/23      MLUNN           Confidentiality review of September fee       B018         0.40          410.00
                              statement in preparation for submission
11/13/23      DLASK           Prepare Young Conaway's September fee         B018         1.40          511.00
                              application
11/13/23      MLUNN           Confidentiality review of October fee         B018         0.30          307.50
                              statement
11/14/23      DLASK           Prepare Young Conaway's October fee           B018         0.80          292.00
                              application
11/20/23      RFPOP           Review and comment on draft YCST              B018         0.30          267.00
                              September 2023 fee application, and
                              emails to and from D. Laskin re: same
11/27/23      MLUNN           Review YCST September fee application         B018         0.20          205.00

11/27/23      RFPOP           Emails to and from D. Laskin re: YCST         B018         0.10            89.00
                              September 2023 fee application
11/28/23      RFPOP           Review and revise draft YCST October          B018         0.30          267.00
                              2023 fee application, and email to D.
                              Laskin re: same
11/29/23      DLASK           Preparation of supplement to 4th interim      B018         1.20          438.00
                              fee application
11/29/23      RFPOP           Email to and from D. Laskin re:               B018         0.20          178.00
                              supplement to YCST fourth interim fee
                              application
11/22/23      RFPOP           Review and analyze JPL statement              BN014        0.30          267.00
                              regarding developments in connection
                              with the Bahamian liquidation
11/09/23      RFPOP           Brief research re: Voyager                    BN015        0.40          356.00
                              litigation/mediation issues
11/21/23      RFPOP           Emails to and from counsel for debtors        BN015        0.20          178.00
                              (Brian Glueckstein) re: response to
                              Voyager discovery request in connection
                              with Voyager mediation

                                                                         Total          85.00       $69,503.00


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Timekeeper Summary

 Initials       Name                  Timekeeper Title               Hours             Rate     Amount
 DLASK          Debbie Laskin         Paralegal                       12.40          365.00     4,526.00
 JKOCH          Jared W. Kochenash    Associate                        5.20          560.00     2,912.00
 MLUNN          Matthew B. Lunn       Partner                         15.40        1,025.00    15,785.00
 RFPOP          Robert F. Poppiti     Partner                         52.00          890.00    46,280.00

 Total                                                                     85.00              $69,503.00




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Task Summary

 Task Code:B001                    Case Administration

 Name                              Timekeeper Title                   Hours           Rate        Amount
 Robert F. Poppiti                 Partner                             1.70         890.00        1,513.00
 Debbie Laskin                     Paralegal                           2.90         365.00        1,058.50

 Total                                                                  4.60                      2,571.50

 Task Code:B002                    Court Hearings

 Name                              Timekeeper Title                   Hours            Rate       Amount
 Matthew B. Lunn                   Partner                              1.20       1,025.00       1,230.00
 Robert F. Poppiti                 Partner                             14.50         890.00      12,905.00
 Debbie Laskin                     Paralegal                            1.40         365.00         511.00

 Total                                                                 17.10                     14,646.00

 Task Code:B004                    Schedules & Statements, U.S. Trustee Reports

 Name                              Timekeeper Title                   Hours           Rate        Amount
 Robert F. Poppiti                 Partner                             0.20         890.00         178.00

 Total                                                                  0.20                       178.00

 Task Code:B006                    Use, Sale or Lease of Property (363 issues)

 Name                              Timekeeper Title                   Hours            Rate       Amount
 Matthew B. Lunn                   Partner                             1.70        1,025.00       1,742.50
 Robert F. Poppiti                 Partner                             9.40          890.00       8,366.00
 Jared W. Kochenash                Associate                           0.60          560.00         336.00
 Debbie Laskin                     Paralegal                           0.40          365.00         146.00

 Total                                                                 12.10                     10,590.50

 Task Code:B007                    Claims Analysis, Objections and Resolutions

 Name                              Timekeeper Title                   Hours            Rate       Amount
 Matthew B. Lunn                   Partner                             1.40        1,025.00       1,435.00
 Robert F. Poppiti                 Partner                             2.40          890.00       2,136.00

 Total                                                                  3.80                      3,571.00

 Task Code:B008                    Meetings

 Name                              Timekeeper Title                   Hours            Rate       Amount
 Matthew B. Lunn                   Partner                             7.10        1,025.00       7,277.50
 Robert F. Poppiti                 Partner                             8.20          890.00       7,298.00

 Total                                                                 15.30                     14,575.50



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 Task Code:B011                    Other Adversary Proceedings

 Name                              Timekeeper Title                  Hours           Rate       Amount
 Matthew B. Lunn                   Partner                            1.50       1,025.00       1,537.50
 Robert F. Poppiti                 Partner                            9.00         890.00       8,010.00
 Debbie Laskin                     Paralegal                          1.40         365.00         511.00

 Total                                                                11.90                    10,058.50

 Task Code:B012                    Plan and Disclosure Statement

 Name                              Timekeeper Title                  Hours           Rate       Amount
 Matthew B. Lunn                   Partner                            0.30       1,025.00         307.50
 Robert F. Poppiti                 Partner                            0.30         890.00         267.00
 Jared W. Kochenash                Associate                          2.70         560.00       1,512.00

 Total                                                                 3.30                     2,086.50

 Task Code:B017                    Retention of Professionals/Fee Issues

 Name                              Timekeeper Title                  Hours           Rate       Amount
 Matthew B. Lunn                   Partner                            1.30       1,025.00       1,332.50
 Robert F. Poppiti                 Partner                            3.20         890.00       2,848.00
 Jared W. Kochenash                Associate                          1.90         560.00       1,064.00
 Debbie Laskin                     Paralegal                          2.90         365.00       1,058.50

 Total                                                                 9.30                     6,303.00

 Task Code:B018                    Fee Application Preparation

 Name                              Timekeeper Title                  Hours           Rate       Amount
 Matthew B. Lunn                   Partner                            0.90       1,025.00         922.50
 Robert F. Poppiti                 Partner                            2.20         890.00       1,958.00
 Debbie Laskin                     Paralegal                          3.40         365.00       1,241.00

 Total                                                                 6.50                     4,121.50

 Task Code:BN014                   FTX Digital Chapter 15 Proceeding

 Name                              Timekeeper Title                  Hours          Rate        Amount
 Robert F. Poppiti                 Partner                            0.30        890.00         267.00

 Total                                                                 0.30                      267.00

 Task Code:BN015                   Voyager Litigation and Claims

 Name                              Timekeeper Title                  Hours          Rate        Amount
 Robert F. Poppiti                 Partner                            0.60        890.00         534.00

 Total                                                                 0.60                      534.00



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                                     EXHIBIT B

                                      Expenses




31099508.1
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Cost Detail

Date            Description                                                      Quantity        Amount
11/07/23        Photocopy Charges Duplication BW                                   25.00           2.50
11/08/23        Photocopy Charges Duplication BW                                    22.00           2.20
11/14/23        Photocopy Charges Duplication BW                                    78.00           7.80
11/14/23        Photocopy Charges Duplication BW                                    13.00           1.30
11/14/23        Photocopy Charges Duplication BW                                    24.00           2.40
11/14/23        Photocopy Charges Duplication BW                                     6.00           0.60
11/14/23        Photocopy Charges Duplication BW                                     7.00           0.70
11/14/23        Photocopy Charges Duplication BW                                    57.00           5.70
11/14/23        Photocopy Charges Duplication BW                                    78.00           7.80
11/14/23        Photocopy Charges Duplication BW                                   326.00          32.60
11/14/23        Photocopy Charges Duplication BW                                     9.00           0.90
11/15/23        Parcels, Inc. - Terra Cafe and Grill 1052303                         1.00         107.00
11/22/23        Manhattan Bagel - Working Meals Lunch for YCST                       1.00          97.95
                Attorneys and Co-Counsel for the 10/24/23 Hearing in FTX
11/27/23        Photocopy Charges Duplication BW                                    37.00           3.70
11/27/23        Photocopy Charges Duplication BW                                    12.00           1.20
11/27/23        Photocopy Charges Duplication BW                                    17.00           1.70
11/27/23        Photocopy Charges Duplication BW                                    39.00           3.90
11/27/23        Photocopy Charges Duplication BW                                    50.00           5.00
11/29/23        Photocopy Charges Duplication BW                                     7.00           0.70
11/30/23        Photocopy Charges Duplication BW                                    67.00           6.70

                                                                    Total                        $292.35




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Cost Summary

Description                                                                                Amount
Reproduction Charges                                                                         87.40
Working Meals                                                                               204.95

                                                              Total                        $292.35




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